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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

   DALLAS MCINTOSH,

                 Plaintiff,

          v.                                         Case No. 3:17-cv-00103-JPG-DGW

   WEXFORD HEALTH SOURCES, INC., et
   al.,

                 Defendants.

                                        JUDGMENT

         This matter having come before the Court, the issues having been heard, and the Court

  having rendered a decision,

         IT IS HEREBY ORDERED AND ADJUDGED that this matter is DISMISSED

  WITHOUT PREJUDICE.

  DATED: November 14, 2018




                                                   MARGARET M. ROBERTIE,
                                                   Clerk of Court

                                                   BY: s/Tina Gray
                                                         Deputy Clerk

  Approved:
  s/ J. Phil Gilbert
  J. Phil Gilbert
  U.S. District Judge
